Case 1:21-cv-03750-WMR-CCB Document 5-3 Filed 09/17/21 Page 1 of 33

 

EXHIBIT 2
Case 1:21-cv-03750-WMR-CCB Document 5-3 Filed 09/17/21 Page 2 of 33

8/30/2021

Register of Actions - 2012CV218864

EJ10

Case Summary

Case No. 2012CV218864

JANET HILL vs. THE BANK OF NEW
MELLON FKA THE BANK OF NEW
YORK, AS TRUSTEE FOR THE
CERTIFICATEHOLDERS OF CWALT,
INC., ALTERNATIVE LOAN TRUST 2005-
58, MORTGAGE PASS-THROUGH
CERTIFICATES, SERIES 2005-58;
MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC.; BAC
HOME LOANS SERVICINGS, LP FKA
COUNTRYWIDE HOME LOANS
SERVICING LP; COUNTRYWIDE HOME
LOANS SERVICING LP; COUNTRYWIDE
HOME LOANS, INC., AND ALL PERSONS
CLAIMING ANY LEGAL OR EQUITABLE
RIGHT, TITLE, ESTATE, LIEN, OR
INTEREST IN THE PROPERTY
DESCRIBED IN THE COMPLAINT
ADVERSE TO PLAINTIFF'S TITLE
THERETO

§ Location

§ EJ10

§ Judicial Officer

§ BAXTER, JERRY
§ Filed on

§ 07/30/2012

 

Case Information

 

Cause of Action
Conversion
Description/Remedy
Action
QUIET TITLE

Statistical Closures
12/18/2012 Consolidated
12/18/2012 Transferred

Case Type:
Case Status:

QUIET TITLE
12/18/2012 Closed

 

Party Information

 

https://publicrecordsaccess.fultoncountyga.gov/app/RegisterOfActions/#/11DAB7E77726FA6DCBDE66AB35F 1 DC4B3A330D8BCB7DD6470DB235A... 1/3
Case 1:21-cv-03750-WMR-CCB Document 5-3 Filed 09/17/21 Page 3 of 33

8/30/2021 Register of Actions - 2012CV218864
Lead Attorneys
PLAINTIFF HILL, JANET Bailey, Gregory
T.
Retained

DEFENDANT BAC HOME LOANS SERVICING LP

BANK OF NEW YORK MELLON

COUNTRYWIDE HOME LOANS INC

MORTGAGE ELECTRONIC REGISTRATION
SYSTEMS INC

 

Events and Orders of the Court

 

01/08/2013. MICROFILMED FILE
12/19/2012 DEFAULT (9:30AM) (Judicial Officer: BAXTER, JERRY)
12/18/2012

NOTICE

12/17/2012 a)
SHERIFF'S ENTRY OF SERVICE

12/13/2012 4)
AFFIDAVIT

11/29/2012
NOTICE OF HEARING

09/26/2012
SHERIFF'S ENTRY OF SERVICE

09/26/2012 4)
NON EST SERVICE

07/30/2012 a)
CASE INITIATION FORM

07/30/2012
PLAINTIFF'S ORIGINAL PETITION

07/30/2012 Conversion

07/30/2012 Cause of Action Conversion (QUIET TITLE)
Action Type Action

https://publicrecordsaccess.fultoncountyga.gov/app/RegisterOfActions/#/1 1 DAB7E77726FA6DCBDE66AB35F 1 DC4B3A330D8BCB7DD6470DB235A... 2/3
Case 1:21-cv-03750-WMR-CCB Document 5-3 Filed 09/17/21 Page 4 of 33
8/30/2021 Register of Actions - 2012CV218864

 

Financial Information

PLAINTIFF HILL, JANET

Total Financial Assessment 420.50
Total Payments and Credits 420.50
Balance Due as of 8/30/2021 0.00

https://publicrecordsaccess ..fultoncountyga.gov/app/RegisterOfActions##/11DAB7E77726FA6DCBDE66AB35F 1DC4B3A330D8BCB7DD6470DB235A... 3/3
Case 1:21-cv-03750-WMR-CCB Document 5-3 Filed 09/17/21 Page 5 of 33
8/30/2021 CM/ECF-GA Northern District Court

Query Reports Utilities

U.S. District Court

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Northern District of Georgia (Atlanta)
CIVIL DOCKET FOR CASE #: 1:12-cv-04344-WSD

Hill v. The Bank of New York Mellon et al
Assigned to: Judge William S. Duffey, Jr

Case in other court: Superior Court of Fulton County,

2012cv218864
Cause: 28:1444 Petition for Removal- Foreclosure

Plaintiff
Janet Hill

V.
Defendant

The Bank of New York Mellon

as Trustee for the certificate holders of
Cwalt, Inc., Alternative Loan Trust 2005-58,
Mortgage Pass-Through Certificates, Series
2005-58

formerly known as

The Bank of New York

Defendant
Mortgage Electronic Registration

https://ecf.gand.uscourts,gov/cgi-bin/DktRpt.pl?426499507244424-L_ 1_0-1

Date Filed: 12/17/2012

Date Terminated: 01/18/2013

Jury Demand: None

Nature of Suit: 220 Real Property:
Foreclosure

Jurisdiction: Diversity

represented by Gregory Timothy Bailey

Greg T. Bailey & Associates
Suite 101

5682 Palazzo Way

Douglasville, GA 30134
404-397-1975 x. 1100

Fax: 1-877-518-2840

Email: attygregtbailey@msn.com
ATTORNEY TO BE NOTICED

represented by Andrew G. Phillips

McGuire Woods LLP-GA

1230 Peachtree Street, N.E.
Promenade, Suite 2100

Atlanta, GA 30309-3534
404-443-5724

Fax: 404-443-5773

Email: aphillips@autoplusap.com
ATTORNEY TO BE NOTICED

Jarrod Sean Mendel

McGuire Woods LLP-GA

1230 Peachtree Street, N.E.

Suite 2100, Promenade II

Atlanta, GA 30309

404-443-5713

Fax: 404-443-5687

Email: jmendel@mcguirewoods.com
ATTORNEY TO BE NOTICED

represented by Andrew G. Phillips

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8/30/2021 CM/ECF-GA Northern District Court
Systems, Inc. (See above for address)
ATTORNEY TO BE NOTICED
Jarrod Sean Mendel
(See above for address)
ATTORNEY TO BE NOTICED
Defendant
BAC Home Loans Servicing, LP represented by Jarrod Sean Mendel
formerly known as (See above for address)
Countrywide Home Loans Servicing LP ATTORNEY TO BE NOTICED
Defendant
Countrywide Home Loans, Inc. represented by Andrew G. Phillips
(See above for address)
ATTORNEY TO BE NOTICED
Jarrod Sean Mendel
(See above for address)
ATTORNEY TO BE NOTICED
Defendant

All Persons Claiming any Legal or
Equitable Right, Title, Estate, Lien, or
Interest in the Property Described in the
Complaint Adverse to Plaintiff's Title

Thereto

 

Date Filed

Docket Text

 

12/17/2012

|

NOTICE OF REMOVAL with COMPLAINT. Consent form to proceed before U.S.
Magistrate and pretrial instructions provided. (Filing fee $ 350 receipt number 113E-
4315868), filed by The Bank of New York Mellon, Mortgage Electronic Registration
Systems, Inc., Countrywide Home Loans, Inc. (Attachments: # 1 Exhibit A, #2 Exhibit B, #
3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Civil Cover Sheet)(cem) Please
visit our website at http://www.gand.uscourts.gov to obtain Pretrial Instructions. (Entered:
12/19/2012)

 

12/17/2012

Ibo

Certificate of Interested Persons and Corporate Disclosure Statement by Countrywide Home
Loans, Inc., Mortgage Electronic Registration Systems, Inc., The Bank of New York Mellon
identifying Corporate Parent Bank of America, N.A., Corporate Parent The Bank of New
York, Corporate Parent NB Holdings Corporation, Corporate Parent BAC North America
Holding Company, Corporate Parent BANA Holding Corporation, Other Affiliate Mellon
Funding Corporation, Other Affiliate Mellon Capital II, Other Affiliate Mellon Capital IV,
Other Affiliate Bank of New York Institutional Capital Trust, Other Affiliate Bank of New
York Investment Holdings (Del.), Other Affiliate Bank of New York Capital IV, Other
Affiliate Bank of New York Capital V, Other Affiliate The Bank of New York Mellon
Corporation for The Bank of New York Mellon; Corporate Parent Bank of America
Corporation for Countrywide Home Loans, Inc.; Corporate Parent Merscorp Holdings, Inc.
for Mortgage Electronic Registration Systems, Inc.. (cem) (Entered: 12/19/2012)

 

12/24/2012

 

 

JUo

 

MOTION for Leave to File Excess Pages with Brief In Support by BAC Home Loans
Servicing, LP, Countrywide Home Loans, Inc., Mortgage Electronic Registration Systems,

 

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Case 1:21-cv-03750-WMR-CCB Document 5-3 Filed 09/17/21 Page 7 of 33
8/30/2021 CM/ECF-GA Northern District Court
Inc., The Bank of New York Mellon. (Attachments: # 1 Text of Proposed Order)(Mendel,
Jarrod) (Entered: 12/24/2012)

MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM with Brief In Support by
BAC Home Loans Servicing, LP, Countrywide Home Loans, Inc., Mortgage Electronic
Registration Systems, Inc., The Bank of New York Mellon. (Attachments: # 1 Brief)
(Mendel, Jarrod) (Entered: 12/24/2012)

ORDER DIRECTING Plaintiff to respond to the Motion to Dismiss on or before January
14, 2013, or SHOW CAUSE by that date why a response has not been filed. If no response
is filed, the Court shall dismiss this action pursuant to Local Rule 41.3A(2), N.D.Ga. for
failure to obey a lawful order of the Court. Signed by Judge William S. Duffey, Jr on
1/2/2013. (kt) (Entered: 01/02/2013)

NOTICE by BAC Home Loans Servicing, LP, Countrywide Home Loans, Inc., Mortgage
Electronic Registration Systems, Inc., The Bank of New York Mellon re 1 Notice of
Removal,, Corrected Civil Cover Sheet (Phillips, Andrew) (Entered: 01/09/2013)

01/17/2013 Submission of 5 Order to Show Cause, to District Judge William S. Duffey. (kt) (Entered:
01/17/2013)

MOTION to Dismiss Without Prejudice by Janet Hill. (Attachments: # 1 Text of Proposed
Order)(Bailey, Gregory) (Entered: 01/17/2013)

 

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01/09/2013

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01/18/2013

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Order Directing the Clerk to Administratively Close the case with the right of any party to
reopen the case if the settlement is not concluded. The parties are directed to file a
stipulation of dismissal on or before February 22, 2013. Signed by Judge William S. Duffey,
Jr. on 1/18/2013. (jtj) (Entered: 01/18/2013)

01/18/2013 Civil Case Terminated. (jt]) (Entered: 01/18/2013)

06/12/2013 STIPULATION of Dismissal signed by all parties by Janet Hill. (Bailey, Gregory) (Entered:
06/12/2013)

06/12/2013 Clerk's Entry of Dismissal APPROVING 9 Stipulation of Dismissal pursuant to
Fed.R.Civ.P.41(a)(1)(ii) without prejudice. (bdb) (Entered: 06/12/2013)

 

 

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Case 1:12-cv-04344-WSD Document 1-1 Filed 12/17/12 Page 2 of 32

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IN THE SUPERIOR COURT OF FULTON COUNTY DEPUTY CLERK SUPERIOR GOURT

 

FILED IN OFFICE

 

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STATE OF GEORGIA FULTON COUNTY, GA

JANET HILL,
Plaintiff,
Vv.

THE BANK OF NEW YORK MELLON
fka THE BANK OF NEW YORK, as
trustee for the certificateholders of
CWALT, INC., ALTERNATIVE LOAN
TRUST 2005-58, MORTGAGE PASS-
THROUGH CERTIFICATES, SERIES
2005-58; MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC,;
BAC HOME LOANS SERVICING, LP
fka COUNTRYWIDE HOME LOANS
SERVICING LP; COUNTRYWIDE
HOME LOANS, INC., and ALL
PERSONS CLAIMING ANY LEGAL
OR EQUITABLE RIGHT, TITLE,
ESTATE, LIEN, OR INTEREST IN
THE PROPERTY DESCRIBED IN
THE COMPLAINT ADVERSE TO
PLAINTIFF'S TITLE THERETO,

Defendants.

 

Nemame’ Nome? rene’ Sree” Sea” Sanat” Seam” Seno” Swear” nga” Segue” ae” Nome” eget Soe” Semmee” Stem” Ne” Smee” Ne Ngee” Came” eee” nee” “ee” tee” Nee”

 

CIVIL ACTION NO.: 2 o\Acu2gett

COMPLAINT FOR QUIET TITLE
COMES NOW Plaintiff, and hereby files this Complaint against Defendants as follows:

PARTIES

1.

Defendant The Bank of New York Mellon (“Mellon”) fkaThe Bank of New York, as

trustee for the certificateholders of CWALT, Inc., Alternative Loan Trust 2005-58, Mortgage

Pass-Through Certificates, Series 2005-58 is, and at all times herein mentioned was, a Delaware

corporation, doing business in Fulton County, Georgia.
Case 1:21-cv-03750-WMR-CCB Document 5-3 Filed 09/17/21 Page 9 of 33
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2.

Defendant Mortgage Electronic Registration Systems, Inc. (“MERS”) is a Delaware
corporation with its principle place of business in the State of Virginia, and doing business in
Fulton County, Georgia.

3,

Defendant BAC Home Loans Servicing, LP (“BAC”), is a corporation doing business in
Fulton County, Georgia.

4,

Defendant Countrywide Home Loans, Inc, (“Countrywide”) is a New York corporation
doing business in Fulton County, Georgia.

5,

All Persons Unknown, Claiming Any Legal or Equitable Right, Title, Estate, Lien, or
Interest in the Property Described in the Complaint Adverse to Plaintiffs Title, or any Cloud on
Plaintiff's Title Thereto” are sued herein pursuant to the Georgia Civil Practice Act Section 23-3-
40,

6.

Each of the Defendants named herein are believed to, and are alleged to have been acting
in concert with, as employee, agent, co-conspirator or member of a joint venture of, each of the
other Defendants, and are therefore alleged to be jointly and severally liable for the claims set
forth herein, except as otherwise alleged.

JURISDICTION

7,
Case 1:21-cv-03750-WMR-CCB Document 5-3 Filed 09/17/21 Page 10 of 33
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The Court has subject matter jurisdiction, pursuant to Art. VI, § IV, Paral of the
Constitution of the State of Georgia.

VENUE
8.

Venue is proper, pursuant to Art. VI, § IJ, Para. VI of the Constitution of the State of
Georgia.

GENERAL ALLEGATIONS
9.

On October 6, 2005, Plaintiff refinanced her residential home loan whichCountrywide
agreed to provide the deed to secure debt on certain real property commonly known as the
“Subject Property.”

10.

Plaintiff made each payment due on the loan.

11,

On June 1, 2011, Defendant MERStransferred its rights to the Subject PropertytoMellon,

through an Assignment which is attached hereto as Exhibit A.
12. |

On May 3, 2011, Defendant BAC sent a letter to Plaintiff stating that it was the servicer

of her loan on behalf of the owner Mellon. A copy of this letter is attached hereto as Exhibit B.
13.

In August 2009, Plaintiff was approved for the BAC workout assistance program.

Plaintiff did not receive the confirmation letter and loan modification documents until August

2010. BAC representatives promised her a response within 30 days of receiving her documents.
 

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Although Plaintiff returned the documents as instructed by BAC, she did not receive a response
from BAC within the promised 30 days.
14.

In October 2010, Plaintiff received from BAC another confirmation letter, QWR and an
incomplete response to her inquiry regarding the owner of her Note. BAC also sends a
confirmation letter informing Plaintiff of her participation in the loan modification program.

15.

In January 2011, Plaintiff receives another loan modification application from BAC even

after previously confirming to Plaintiff her participation in the loan modification program.
16.

On or about March 21, 2011, Plaintiff sent an email to Jamie Blake-Hill of BAC
confirming BAC’s receipt of the additional documents requested by it and was told that the
application had been sent to underwriting.

17.

After receiving no further responses, Plaintiff begins regular communications, both via
telephone calls and written letters, with BAC concerning the status of her loan modification, to
wit:

(a) May 9, 2011 spoke with customer service manager Eric (rep. #5830) who confirmed
Plaintiff's application is approved, at the underwriting stage, and notice of trial
payment forthcoming;

(b) May 12, 2011 spoke with customer service agent Jonathan (rep. #2816) who
confirmed Plaintiffs application is approved, still in underwriting, and notice of trial

payment will be forthcoming; and
 

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(c) May 23, 2011 spoke with customer service agent Najee (rep. #5986) who provided

Plaintiff with the same information as Eric and Jonathan.
18.

In June 2011, Plaintiff received from BAC another letter confirming receipt of Plaintiff's
letter requesting additional information regarding her loan, and her loan modification
application. Because Plaintiff had still not received the additional information she requested, she
began making follow-up calls to BAC, to wit:

(a) June 21, 2011 call to Sonya Hines (Bank of America, Getzville, NY) at 9:09 a.m.,

9:20 a.m., and 11:33 a.m. getting no response either time;

(b) June 28, 2011 call to Sonya Hines (Bank of America, Getzville, NY) at 12:01 p.m.
and 12:08 p.m. getting no response either time;

(c) June 29, 2011 call to Mr. Donaldson, manager of Sonya Hines, at 9:36 a.m. getting no
response;

(d) July 2011 call to Sonya Hines and spoke with Christina Botsko who was unable to
transfer the call to Ms. Hines but sent an instant message to Ms. Hines with
instructions to call Plaintiff. Ms. Hines never returned Plaintiff's call;

(e) July 20, 2011 call to Sonya Hines between 3:00 p.m. and 4:00 p.m. — no response.

(f) July 21, 2011 call to Sonya Hines at 9:40 a.m. — no response.

19,

Subsequently, on or about June 24, 2011, Plaintiff received a foreclosure notice stating
that aNotice of Default and Election to Sell Deed of Trust (“Notice”) had been recorded on the
Subject Property. The Notice was executed on or about June 1, 2011. However, Plaintiff was not

familiar with the entities set forth therein. Specifically, the Notice stated that the Deed of Trust
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executed by Plaintiff “was to secure obligations in favor of Mortgage Electronic Registration
Systems, Inc. [“MERS”], as Beneficiary,” not Countrywide. MERS was never a beneficiary of
Plaintiff's loan. Additionally, MERS was never entitled to receive payments from Plaintiff
pursuant to the note and MERS was not qualified to conduct business in the State of Georgia
until March 10, 2011. Thus, MERS did not have legal standing or any legal right to substitute the
trustee under the Deed of Trust. Moreover, the Notice listed March 1, 2011. The Notice was not
issued pursuant to O.C.G.A. § 44-14-16] et al.
20.

The Notice was wrongfully sent out because the Defendant had granted to the Plaintiff a
forbearance as Plaintiff was not in default with her payment obligations as she made all
payments on the second mortgage and had received a loan modification.

21,

Prior to her receipt of the Notice, and afterwards, Plaintiff was still actively contacting
BAC regarding her loan modification. Plaintiff did not receive any telephone calls or written
correspondence from BAC, in response to the many inquiries she made. However, in August
2011 Plaintiff revoked the special power of attorney granted to the Defendant. Then in March
2012, Plaintiff called BAC again and spoke with Cassidy Williams who confirmed that Plaintiff
was qualified for the modification program and also added Plaintiff’s name to the list for the
federal global settlement program.

22.
The Assignment by MERS was improper because MERS never had a beneficial interest

in the Subject Property and was merely a “nominee” under the Deed of Trust. Therefore, the
Case 1:21-cv-03750-WMR-CCB Document 5-3 Filed 09/17/21 Page 14 of 33
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Assignment was invalid and void. Moreover, the recording of the Notice of Default was invalid
and void because it occurred outside of the State of Georgia in the State of California.
23.

Based upon information and belief, there was no assignment of the Note with theDeed of
Trust, none of the foreclosing Defendants are the holder of the Note in due course, andnone of
the Defendants were properly assigned the Note by Countrywide. Accordingly, none of the
foreclosing Defendants were ever entitled to enforce the Note

24,

Based upon information and belief, on or about August 5, 2011, notwithstanding the fact
that it did not the trustee under the Deed of Trust and it does not have any authority from the
beneficiary under the Deed of Trust.

25.

Based upon information and belief, the Trustee’s attempted Sale was also invalid because
ittook place without anyone ever presenting the original note, or original and valid assignments
of the note, to Plaintiff.

26.

Based upon information and belief, at no time did Plaintiff know, in fact, who the actual
beneficiary of the Deed of Trust was. Further, Plaintiff is informed and believes that the actual
beneficiary of the Deed of Trust NEVER provided a declaration to Bank of Mellon stating that
Plaintiff was in default under the terms of the Deed of Trust and, accordingly, the recording of
the Notice of Default and any subsequent documents relating to a non-judicial foreclosure were
recorded in violation of O.C.G.A. § 44-2-43, |

COUNT I
NEGLIGENCE
Case 1:21-cv-03750-WMR-CCB Document 5-3 Filed 09/17/21 Page 15 of 33
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27.
Plaintiff realleges and incorporates paragraphs 1 through 26 above as if fully set herein.
28.

At all times relevant herein, the Defendants, acting as Plaintiff’s lender and loan servicer,
had a duty to exercise reasonable care and skill to maintain proper andaccurate loan records and
to discharge and fulfill the other incidents attendant to the maintenance, accounting and servicing
of loan records, including, but not limited, accurate crediting of payments made by Plaintiff.

29.

In taking the actions alleged above, and in failing to take the actions as allegedabove, the
Defendants breached their duty of care and skill to Plaintiff in the servicing of her loan by,
among other things, failing to properly and accurately creditpayments made by Plaintiff toward
the loan, preparing and filing false documents, and foreclosing on the Subject Property without
having the legal authority and/or proper documentation to do so.

30.

Accordingly, and at all times relevant herein, Defendants were negligent by not properly
recording Plaintiff's mortgage when it originated or was acquired which negligence has caused
the mortgage and/or foreclosure process to be severely and unduly complicated.

31.

Defendants, at all times relevant herein, failed to maintain proper internal controls related
to the processing of Plaintiff's mortgage and/or foreclosure resulting in unlawful robo signing of
Plaintiff's mortgage and/or foreclosure documents,

32.
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As a direct and proximate result of the negligence and carelessness of the Defendants as
set forth above, Plaintiff has suffered general and special damages in an amount to be determined
at trial.

COUNT I
FRAUD

33.
Plaintiff realleges and incorporates paragraphs 1 through 32 above as if fully set herein.
34,

The Defendants engaged in a pattern and practice of defrauding Plaintiff in that, during
the life of the mortgage loan, the Defendants failed to properly credit payments made and
foreclosed on the Subject Property based on Plaintiffs alleged non-payment which they knew to
be false.

35.

The Defendants had actual knowledge that Plaintiff's account was not accurate but that
the Defendants could use the inaccuracy to foreclose on the Subject Property which had
substantial equity, to recover its excessive fees, charges and interest. Plaintiff made such
payments and provided proof of the payments based on the improper, inaccurate, and fraudulent
representations as to their account. The Defendants also utilized amounts known to the
Defendants to be inaccurate to determine the amount allegedly due and owing for purposes of
foreclosure.

36,

Additionally, the Defendants concealed material facts known to them but not to Plaintiff

regarding payments, notices, assignments, transfers, late fees and charges with the intent to

defraud Plaintiff.
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37.

The Defendants made the above-referenced false representations, concealments and non-
disclosures with knowledge of the misrepresentations, intending to induce Plaintiff's reliance,
which the unsuspecting Plaintiff justifiably relied upon, resulting in damage to her credit
standing, costs and loss of her property. Plaintiff was unaware of the true facts. Had Plaintiff
known the true facts, Plaintiff, among other things, would not have maintained the Foreclosing
Defendants as her lender, servicer and trustee (and their alleged agents) and/or would have taken
legal action immediately to save her house.

38.

Defendants engaged in predatory lending practices which placed Plaintiff in a high-
interest loan which was clearly designed to cause her to default on her loan, and placing
Defendants in an advantageous position to repurchase the home at a lower rate cashing in on
Plaintiff's equity.

39,

As a result of the Defendants’ fraudulent conduct, Plaintiff has suffered compensatory,
general and special damages in an amount to be proven at trial. Additionally, the Defendants
acted with malice, fraud and/or oppression and, thus, Plaintiff is entitled to an award of punitive
damages.

COUNT I
BREACH OF CONTRACT

40.
Plaintiff realleges and incorporates paragraphs | through 39 above as if fully set herein.

4.

10
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Case 1:12-cv-04344-WSD Document 1-1 Filed 12/17/12 Page 12 of 32

MERS operates as a record-keeping database company in which MERS contracts with

lenders to track security instruments in return for an annual fee.
42.

Plaintiffs original loan agreement set forth dates by which monthly principal and interest
payments were due, and when late fees and other charges could be assessed.Alternatively, if the
original note and deed of trust were properly assigned to Defendants, Defendants breached the
note and deed of trust that Plaintiff signed on April 16, 2006. The terms of the note required
payments made by Plaintiff to be applied properly to the note.

43.

The Defendants breached the note and deed of trust by failing to apply the payments
made by Plaintiff to Plaintiff's loan, the result of which led to the Defendants eventually
foreclosing on the Subject Property,

44.

Moreover, MERS is not in the business of creating evidences, and it is not aforeign
lending institution, It does not originate loans, never had any true interest in the subject loan or
Deed of Trust, and thereby does not meet any legal exceptions to the registration requirement for
foreign corporations.

45,

MERS conducted business in Georgiabefore it was not registered with theSecretary of
State.At all relevant times herein, MERS was not registered in Georgia until March 10, 2011 and
could notprepare or execute the Assignment of Deed of Trust. MERS had no legal authority to

take such action, Thus, MERS did not have the legal capacity to enter into a contract
Case 1:21-cv-03750-WMR-CCB Document 5-3 Filed 09/17/21 Page 19 of 33
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withPlaintiff. Therefore, any action that MERS took with regard to assigning the within deed of
trust and substituting the trustee would be ultra vires and void.
46,

Plaintiff hereby expressly requestsadjudication to the effect that theassignment of the

deed of trust and substitution of trustee by MERS are void.
47.
As a proximate result of Defendants’ breaches, Plaintiffs have suffered compensatory
damages in an amount to be proven at trial.
COUNT IV
TO VOID, CANCEL AND/OR SET ASIDE
TRUSTEER’S SALE/DEED UPON SALE
48,
Plaintiff realleges and incorporates paragraphs 1 through 47 above as if fully set herein.
49,

Although the trustee’s deed upon sale appears valid on its face, it is invalid, andof no
force and effect, for the reasons set forth above including, inter alia, the fact the Deed of Trust
which purportedly secured the Note, which served as the basis for a claim to have the right to
conduct a non-judicial foreclosure was at all times void due to the wrongful and improper
assignment to the Defendants.

50.
Plaintiff is therefore entitled to an order that the Trustee’s Deed Upon Sale isvoid ab

initio and cancelling such Trustee’s Deed,

51,

12
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The assignment of the deed of trust is mvalid, and of no force and effect, for the reasons
set forth above including, inter alia, the fact the MERS did not have standing or the legal
authority to assign the deed of trust which purportedly secured the Note, and which served as the
basis for a claim to have the right to conduct a non-judicial foreclosure. Thus, the assignment
ofthe deed of trust was at all times void.

52,

Plaintiff is therefore entitled to an order that the Assignment of the Deed ofTrust is void

ab initio and cancelling such Assignment.

COUNT V
WRONGFUL FORECLOSURE

53.
Plaintiff realleges and incorporates paragraphs | through 52 above as if fully set herein.
54,

Plaintiff is informed and believes and thereon alleges that after the originationand
funding of her loan, it was sold to investors as a “mortgage backed security” and that none of the
Defendants in this action owned this loan, or the corresponding note. Moreover, none of the
Defendants in this action were lawfully appointed as trustee or had the original note assigned to
them. Accordingly, none of the Defendants in this action had the right to declare default, cause
notices of default to be issued or recorded, or foreclose on Plaintiff’s interest in the Subject
Property. The Defendants were not the note holder or a beneficiary at any time with regard to
Plaintiff's loan.

55.
In order for the mortgage loan and Note to have been properly conveyed in the pool, the

Note would have had to have been properly endorsed by all intervening parties from the

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originator and seller. At some point, the loan was sold and the depositor listed on the pooling
servicing agreement, Thereafter, that depositor then sold the loan to the issuing entity which
subsequently sold the loan to Defendant Trustee for the benefit of the certificateholders.

56.

A complete chain of endorsements must exist, each being sufficient to transfer all rights,
title, and interest of the party endorsing the Note.

57.

Plaintiff further alleges on information and belief that none of the Defendants in this
action are beneficiaries or representatives of the beneficiary and, if the Defendants allege
otherwise, they do not have the original note to prove that they are in fact the party authorized to
conduct the foreclosure.

58,

Plaintiff further alleges on information and belief that the loan was sold ortransferred

without notifying the Plaintiff in writing. Therefore, the loan is void of legal rights to enforce it.
59,
Additionally, Defendants violated O.C.G.A. § 44-14-162, which requites a mortgagee,
beneficiary or authorized agent to contact theborrower.
60,
The Defendantsdid not fulfill their legal obligation to Plaintiff.
61.

Thus, the Defendants engaged in a fraudulent foreclosure of theSubject Property in that

the Defendants did not have the legal authority to foreclose on the Subject Property and,

alternatively, if they had the legal authority, they failed to comply with O.C.G.A. §44-2-43.
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62.
As a result of the above alleged wrongs, Plaintiff has suffered general and special
damages in an amount to be determined at trial.
COUNT VI
BREACH OF IMPLIED COVENANT OF
GOOD FAITH AND FAIR DEALING
63.
Plaintiff realleges and incorporates paragraphs 1 through 62 above as if fully set herein.
64.

Every contract imposes upon each party a duty of good faith and fair dealing in its
performance and its enforcement. This implied covenant of good faith and fair dealingrequires
that no party will do anything that will have the effect of impairing, destroying, or injuring the
rights of the other party to receive the benefits of their agreement. The covenantimplies that in all
contracts each party will do all things reasonably contemplated by the terms of the contract to
accomplish its purpose. This covenant protects the benefits of the contract that the parties
reasonably contemplated when they entered into the agreement.

65.

Alternatively, if the note and deed of trust was validly and properly assigned to the
Defendants, the Defendants did not act in good faith and did not deal fairly with Plaintiff in
connection with the note and deed of trust when they refused to properly apply Plaintiffs
payments to the loan and thereafter foreclosed on the Subject Property.

66.

Defendants enjoyed substantial discretionary power affecting the rights of Plaintiff during

the events alleged in this Complaint. They were required to exercise such power in good faith.

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67.

Defendants engaged in such conduct to drive Plaintiff intoforeclosure so that they could
acquire the Subject Property with its large equity at a bargain basement price. These actions were
a bad faith breach of the contract between Plaintiff and Defendants which show that they had no
intention of performing the contract, consisting of the original note and deed of trust, in good
faith.

68.

MERS willfully breached their implied covenant of good faith and fair dealingwith
Plaintiff when MERS allowed their alleged agent to execute the Assignment of the Deed of Trust
in order to appoint a new Trustee to begin foreclosure on the Subject Property.

69.

As aresult of the Defendants’ breaches of this covenant, Plaintiffhas suffered general and

special damages in an amount to be determined at trial.

COUNT VII
UNJUST ENRICHMENT

70.
Plaintiff realleges and incorporates paragraphs | through 69 above as if fully set herein.
71.
By their wrongful acts and omissions, Defendants have beenunjustly enriched at the
expense of Plaintiff, and thus Plaintiff has been unjustly deprived.
72.
By reason of the foregoing, Plaintiff seeks restitution from the Defendants, and an order
of this Court disgorging all profits, benefits, and other compensation obtained by the Defendants

from their wrongful conduct.

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COUNT VII
VIOLATION OF GEORGIA’S FAIR BUSINESS PRACTICES ACT

73.
Plaintiff realleges and incorporates paragraphs | through 72 above as if fully set herein.
74,

Georgia’s Fair Business Practices Act of 1975, O.C.G.A. §10-1-39, et seq., prohibits
unfair and deceptive acts or practices in the marketplace. This law applies to consumer
transactions involving the sale, lease or rental of goods, services or property mainly for personal,
family or household purposes.

75.

As more fully described above, the Defendants’ acts and practicesare likely to deceive,
constituting a fraudulent business act or practice. This conduct is ongoing and continues to this
date.

76.

‘Specifically, the Defendants engage in deceptive business practices with respect to
mortgage loan servicing, assignments of notes and deeds of trust, foreclosure of residential
properties and related matters by (a) assessing improper or excessive late fees; (b) improperly
characterizing customers’ accounts as being in default or delinquent status to generate
unwarranted fees; (c) instituting improper or premature foreclosure proceedings to generate
unwarranted fees; (d) misapplying or failing to apply customer payments; (e) failing to provide
adequate monthly statement information to customers regarding the status of their accounts,
payments owed, and/or basis for fees assessed; (f) seeking to collect, and collecting, various
improper fees, costs and charges, that are either not legally due under the mortgage contract, or

that are in excess of amounts legally due; (g) mishandling borrowers’ mortgage payments and

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failing to timely or properly credit payments received, resulting in late charges, delinquencies or
default; (h) treating borrowers as in default on their loans even though the borrowers have
tendered timely and sufficient payments or have otherwise complied with mortgage
requirements; (i) failing to disclose the fees, costs and charges allowable under the mortgage
contract; (j) ignoring grace periods; (k) executing and recording false and misleading documents;
and (1) acting as beneficiaries and trustees without the legal authority to do so.

77.

Defendants fail to act in good faith as they take fees for services but do not render them
competently and in compliance with applicable law.

78.

Moreover, Defendants engage in a uniform pattern and practiceof unfair and overly-
agressive servicing that result in the assessment of unwarranted and unfair fees against Georgia
consumers, and premature default often resulting in unfair and illegal foreclosure proceedings.
The scheme implemented by the Defendants is designed to defraud consumers and enrich the
Defendants.

79.
The foregoing acts and practices have caused substantial harm to Georgia consumers.
80,

As a direct and proximate cause of the unlawful, unfair and fraudulent acts and practices
of the Defendants, Plaintiff hassuffered and will continue to suffer damages in the form of unfair
and unwarranted late fees and other improper fees and charges.

81,

18
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By reason of the foregoing, Defendants have been unjustlyenriched and should be
required to disgorge their illicit profits and/or make restitution to Plaintiff, and/or be enjoined
from continuing in such practices. Additionally, Plaintiff is therefore entitled to injunctive relief
and attorney’s fees as available under O.C.G.A, § 10-1-390 et. al.

COUNT IX
UIET TITLE

82.
Plaintiff realleges and incorporates paragraphs | through 81 above as if fully set herein.
83.
Plaintiff is the equitable owner of the Subject Property which has thefollowing legal
description:

ALL THAT TRACT or parcel of land lying and being in Land Lot 46 of
the 14" District of Fulton County, City of Atlanta, Georgia, and being
more particularly described as follows:

BEGINNING at a point located at the intersection of the southerly side of
the right of way of Auburn Avenue (55-foot right of way) and the easterly
side of the right of way of Howell Street (30-foot right of way); thence
running along the southerly side of said Auburn Avenue North 66 degrees 34
minutes 07 seconds East a distance of 46.00 feet to '/2 inch rebar found;
thence leaving the southerly side of the right of way of Auburn Avenue and
running South 00 degrees 00 minutes 00 seconds East a distance of 111.50
feet to a point; thence running South 88 degrees 54 minutes 06 seconds West
a distance of40.50 feet to an //2 inch OT found on the easterly side of the
right of way of said Howell Street; thence running along the easterly side of
the right of way of said Howell Street North 01 degrees 02 minutes 42
seconds West a distance of 94.00 feet to the pointofbeginning.

Said property containing 0.097 acres, as per survey prepared for Janet
Hill, prepared by Richard E. McDaniel, Jr, a Georgia Registered Land
Surveyor No. 2734, dated September 15, 1999.

84,

19
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Plaintiff seeks quiet title against the claims of Defendants; and ALLPERSONS
UNKNOWN, CLAIMING ANY LEGAL OR EQUITABLE RIGHT, TITLE, ESTATE, LIEN,
OR INTEREST IN THE PROPERTY DESCRIBED IN THE COMPLAINT ADVERSE TO
PLAINTIFF’S TITLE, OR ANY CLOUD ON PLAINTIFF’S TITLE THERETO; as the
Defendants hold themselves out as entitled to fee simple ownership of the Subject Property by
and through their assignment of the property. In fact, the Defendants had no right to title or |
interest in the Subject Property and no right to entertain any rights of ownership including the
right to foreclosure, offering the Subject Property for sale at a trustee’s sale, demanding
possession or filing cases for unlawful detainer. Plaintiff is willing to tender the amount received
subject to equitable adjustment for the damage caused to Plaintiff by the Defendants’ activities,

COUNT X
SLANDER OF TITLE

 

85.
Plaintiff realleges and incorporates paragraphs | through 84 above as if fully set herein.
86.

Pursuant toO.C.G.A, § 44-2-162, only thebeneficiary of a Deed of Trust or a
beneficiary’s assignee or the agent of a beneficiary or its assignee may cause to be recorded
against real property either a Notice of Default or a Notice of Trustee’s Sale,

87.

MERS, purportedly but falsely acting as either the trustee or the agent of the beneficiary
of the Deed of Trust or the agent of Defendant Bank of Mellon, wrongfully and without
privilege, caused a Notice of Default to be recorded against the Subject Property.

88.

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Later, MERS, again purportedly but falsely acting as either the trustee or the agentof the
beneficiary of the Deed of Trust or the agent of Countrywide, wrongfully and withoutprivilege,
caused a Notice of Trustee’s Sale to be recorded against the Subject Property.

89,

Finally, MERS, again purportedly but falsely acting as either the trustee or theagent of
the beneficiary of the Deed of Trust or the agent of Countrywide, wrongfully and without
privilege, caused a Trustee’s Deed Upon Sale to be recorded against the Subject Property.

90.

None of the Defendants, whether jointly or severally, were ever a trustee, beneficiary or
assignee of any beneficiary of any Deed of Trust recorded against the Subject Property.
Accordingly, they wrongfully caused the recording of the Notice of Default, Notice of Trustee’s
Sale and Trustee’s Deed Upon Sale against the Subject Property.

91.

Mellon, wrongfully and without privilege, has published matters or causedmatters to be
published that they are the current owners of the Subject Property which is untrue and
disparaging to Plaintiff's interest in the Subject Property.

92.

By doing the acts described above, the Defendants have slanderedPlaintiff’s title to the
Subject Property.

93.

In that the conduct and acts of the Defendants violated, O.C.G.A. § 44-2-43, such
conduct and acts were not privileged. |

94.

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The conduct of the Defendants caused Plaintiff to suffer general andspecial damages in

an amount to be proven at trial.

WHEREFORE, Plaintiff prays for judgment against the Defendants and each of them,

jointly and severally, as follows:

1.

For a declaration of the rights and duties of the parties, specifically that the
Foreclosure of Plaintiff’s residence was wrongful.

For issuance of an Order canceling all Trustee’s Deed Upon Sale.

To vacate the Trustee’s Deed.

To vacate and set aside and/or cancel the foreclosure sale.

To quiet title in favor of Plaintiff and against Defendants.

For compensatory, special, general and punitive damages according to
proofagainst all Defendants.

That all Defendants, theirsuccessors, agents, representatives, employees, and all
persons who act in concert with them be permanently enjoined from committing
any acts of unfair competition in violation of Georgia’s Fair Business Practices
Act of 1975, including, but not limited to, the violations alleged herein.

For civil penalties pursuant to statute, restitution, injunctive relief and
reasonableattorney’s fees according to proof.

For reasonable costs of suit and such other and further relief as the Court

deemsproper.

This the ‘a / day of , 2012.

Respectfully submitted,

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Georgia Bar No. 032075
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IN THE SUPERIOR COURT OF FULTON COUNTY
STATE OF GEORGIA

JANET HILL,

Plaintiff,
CIVIL ACTION NO.
V.

THE BANK OF NEW YORK MELLON
fka THE BANK OF NEW YORK, as
trustee for the certificateholders of
CWALT, INC., ALTERNATIVE LOAN
TRUST 2005-58, MORTGAGE PASS-
THROUGH CERTIFICATES, SERIES
2005-58; MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC.;
BAC HOME LOANS SERVICING, LP
fka COUNTRYWIDE HOME LOANS
SERVICING LP; COUNTRYWIDE
HOME LOANS, INC,, and ALL
PERSONS CLAIMING ANY LEGAL
OR EQUITABLE RIGHT, TITLE,
ESTATE, LIEN, OR INTEREST IN
THE PROPERTY DESCRIBED IN
THE COMPLAINT ADVERSE TO
PLAINTIFF’S TITLE THERETO,

Defendants.

Nee Neer Se! eet! Seana” “ange” Sangre” Sea! “et omy nm! el Net” ee” See! Se” Near! eae? Semen? One” Nae” Ne ee See! ee he”

 

VERIFICATION
Personally appeared JANET HILL, who, after being duly sworn, states: ] am the Plaintiff in
this action. I have read the foregoing Complaint for Quiet Title. The matters stated, and the facts

alleged in the foregoing Complaint are true and correct to the best of my knowledge, information

MN ; sn
JANETHILL

and belief.

   

Sworn to and subscribed before me this
Case 1:21-cv-03750-WMR-CCB Document 5-3 Filed 09/17/21 Page 32 of 33
Case 1:12-cv-04344-WSD Document9 Filed 06/12/13 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

JANET HILL,

Plaintiff,
CIVIL ACTION FILE NO.:
Vv. 12-CV-4344-WSD
THE BANK OF NEW YORK MELLON
fka THE BANK OF NEW YORK, as
trustee for the
certificateholders of CWALT,
INC., ALTERNATIVE LOAN TRUST
2005-58, MORTGAGE PASS-
THROUGH CERTIFICATES, SERIES
2005-58; MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC.;
BAC HOME LOANS SERVICING, LP
fka COUNTRYWIDE HOME LOANS
SERVICING LP; COUNTRYWIDE
HOME LOANS, INC., and ALL
PERSONS CLAIMING ANY LEGAL OR
EQUITABLE RIGHT, TITLE,
ESTATE, LIEN, OR INTEREST IN
THE PROPERTY DESCRIBED IN THE
COMPLAINT ADVERSE TO
PLAINTIFF’S TITLE THERETO,

Defendants.

Neer ee ee ee ee ee ee ee oe ee ee eee ee ee ee ee ee ee

 

STIPULATION OF DISMISSAL

 

Pursuant to Federal Rule of Civil Procedure
Al(a) (1) (A) (ii), Plaintiff files this stipulation of dismissal,
signed by all parties that have appeared, dismissing this action
without prejudice.

This the 10th day of June, 2013.

Respectfully submitted,
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Case 1:12-cv-04344-WSD Document9 Filed 06/12/13 Page 2 of 2

/s/ Greg Bailey

 

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/s/ Jarrod S. Mendel

 

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The Bank of New York, as
Trustee for the
Certificateholders CWALT,
Inc., Alternative Loan Trust
2005-58, Bank of America,
N.A., Mortgage Electronic
Registration Systems, Inc.,
and Countrywide Home Loans,
Inc.
